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                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION



CINDY GAMRAT,

                Plaintiff,
                                                            Case No. 1:16-CV-1094
v.
                                                            HON. GORDON J. QUIST
KEITH ALLARD, in his
individual capacity, et al.,

                Defendants.
                                /


                               ORDER STRIKING PLAINTIFF’S
                                  SUPPLEMENTAL BRIEF

        On January 22, 2018, Plaintiff filed a supplemental brief in support of her response to

Defendants’ motions to dismiss. Western District of Michigan Local Rule 7.2(c), governing

dispositive motions, permits an opening brief by the movant, a response by the non-movant, and a

reply by the movant. No further briefing is authorized. Plaintiff filed her supplemental brief

without leave from this Court or authorization under the local rules. Therefore,

        IT IS HEREBY ORDERED that the Clerk shall strike and remove Plaintiff’s

supplemental brief (ECF No. 54) from the docket.


Dated: January 24, 2018                                   /s/ Gordon J. Quist
                                                         GORDON J. QUIST
                                                    UNITED STATES DISTRICT JUDGE
